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                EXHIBIT B
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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF TEXAS
                         BEAUMONT DIVISION

BRYAN O. BLEVINS, JR. AND                §
SHELLEY BLEVINS                          §
                                         §
vs.                                      §    CIVIL ACTION NO. __________
                                         §
STATE FARM FIRE & CASUALTY               §
COMPANY, MICHAEL BLANK                   §
AND SHELEVIA RAQUEL                      §
PROCTOR                                  §


                         INDEX OF STATE COURT FILE

1. Plaintiffs' Original Petition                                08/23/19

2. Plaintiffs' Motion for Substituted Service on Defendant
   Shelevia Raquel Proctor                                      09/12/19

3. Order Granting Substitution of Service                       09/17/19

5. Return of Service for Shelevia Raquel Proctor                09/23/19

6. State Farm Fire & Casualty Company's Original Answer         09/30/19

7. Plaintiff's First Amended Petition                           10/02/19

8. Defendant Shelevia Raquel Proctor's Original Answer          10/07/19
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                                                               FILED
                                                                                 DISTRICT CLERK OF
                                                                                 JEFFERSON CO TEXAS
                                                                                 8/23/2019 11 :47 AM
                                                                                 JAMIE SMITH
                                    CAUSE NO. - - - - - -                        DISTRICT CLERK
                                                                                 E-204355

 BRYAN 0. BLEVINS, JR. AND                        §        IN THE DISTRICT COURT OF
 SHELLEY BLEVINS                                  §
                                                  §
 vs.                                              §
                                                  §       JEFFERSON COUNTY, TEXAS
 STATE FARM FIRE & CASUALTY                       §
 C01'.1PMTY, MICHAEL BLANK AND                    §
 SHELEVIARAQUELPROCTOR                            §                  JUDICIAL DISTRICT

                           PLAINTIFFS' ORIGINAL PETITION

  TO THE HONORABLE JUDGE OF SAID COURT:

             COMES NOW, Bryan 0. Blevins, Jr. and Shelley Blevins ("Plaintiffs"), and files this

  Plaintiffs' Original Petition, complaining of Defendants State Farm Fire & Casualty Company,

  Michael Blank and Shelevia Raquel Proctor (hereinafter collectively referred to as

  "Defendants") and for cause of action would show the following:

                                           DISCOVERY

        1.        Plaintiffs intend for discovery to be conducted under Level 3 of Rule 190 of the

 Texas Rules of Civil Procedure. This case involves complex issues and will require extensive

 discovery. Therefore, Plaintiffs will ask the court to order that discovery be conducted in

 accordance with a discovery control plan tailored to the circumstances of this suit.

                                             PARTIES

        2.        Plaintiffs Bryan 0. Blevins, Jr. and Shelley Blevins are individuals residing in

 Jefferson County, Texas.

        3.        Defendant State Farm Fire & Casualty Company is an alien or foreign insurance

· company registered to engage in the business of insurance in Texas. This defendant may be

 served with process via certified mail, return receipt requested, by serving its registered agent,
 Corporation Service Company 211 E. J1h Street, Ste. 620, Austin, Texas 78701-3218, or

 wherever else it may be found.
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             4.      Defendant Michael Blank is an individual licensed to do, and at all time material

     to the allegations in this Petition has done, business in Texas as an adjuster. This Defendant does

     not reside in Texas and has not appointed an agent for service of process. Therefore, pursuant to

     the Texas Long Arm Statute, this Defendant may be served with personal process at his

     residence located at 18155 S. Harrells Ferry Road, Baton Rouge, LA 70816, or wherever else she

     may be found.

             5.      Defendant Shelevia Raquel Proctor is an individual licensed to do, and at all time ·

     material to the allegations in this Petition has done, business in Texas as an adjuster.      This

     Defendant does not reside in Texas and has not appointed an agent for service of process.

     Therefore, pursuant to the Texas Long Arm Statute, this Defendant may be served with personal

     process at her residence located at 111 Jade Lane, Dallas, GA 30132, or wherever else she may

     be found.

                                           JURISDICTION

             6.      The Court has subject matter jurisdiction of this cause of action because it

     involves an amount in controversy in excess of the minimum jurisdictional limits of this Court.

     Plaintiff is seeking damages over $200,000 but not more than $1,000,000, including damages of

     any kind, penalties, costs, expenses, pre-judgment and post-judgment interest. Plaintiff reserves

     the right to amend their petition during and/or after the discovery process.

             7.      The court has jurisdiction over Defendant State Farm Fire & Casualty Company

     because this Defendant is a foreign insurance company that engages in the business of insurance

     in the State of Texas and Plaintiffs' causes of action arise out of this Defendant's business

     activities in the state of Texas.




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       8.      The court has jurisdiction over Defendants Michael Blank and Shelevia Raquel

Proctor because these Defendants engage in the business of adjusting insurance claims in the

State of Texas, and Plaintiffs cause of action arose out of these Defendants' business activities in

the State of Texas.

                                           VENUE

       9.      Venue in this cause is proper in Jefferson County because the insured property is

situated in Jefferson County. TEX. CN. PRAC. & REM. CODE§ 15.032.

                                           FACTS

       10.     Plaintiffs are the owners of a Texas Homeowners' Insurance Policy (hereinafter

referred to as "the Policy"), which was issued by State Farm Fire & Casualty Company (referred

to herein as "Insurance Company").

       11.     Plaintiffs own the insured property, which is specifically located at 2475 Shadow

Bend Drive, Beaumont, Texas 77706 (hereinafter referred to as "the Property").

       12.     Insurance Company sold the Policy insuring the Property to Plaintiffs.

       13.     On or about August 29, 2017, Plaintiffs sustained wind and water damage to the

following areas of the Property due to Hurricane Harvey: Cedar Shake Roof, Exterior Damage

(including but not limited to Copper Valley-V-Channel, Stucco, Flagstone Entry and Back

Patio), Library, Piano Room, Kaden's Room, Emily's Dressing Area, Kate's Dressing Area,

Formal Dining Room, Media Room, Upstairs Hallway, Small Staircase, Subroom (1), Subroom

(2) and Emily's Bedroom. Plaintiffs filed a claim with their Insurance Company for the damages

to their home caused by Hurricane Harvey.

       14.     Pursuant to the Policy, Plaintiffs asked that the Insurance Company to pay for the

damage to the Property.




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        15.    The Insurance Company, without requiring written notice of the claim from the

Plaintiffs, assigned Defendants Michael Blank ("Blank" or "Adjuster") and Shelevia Raquel

Proctor ("Proctor" or "Claims Associate"), (referred to collectively, hereinafter as "Adjusters")

as the adjusters to investigate Plaintiffs' claim. Blank and Proctor, because of inadequate and

improper instruction and training, failed to perform an investigation of Plaintiffs' claim that met

the minimum standards of performance pursuant to industry standards, §§21.203 and 21.205 of

the Texas Administrative Code, applicable law, or otherwise.

       16.     Blank was the adjuster assigned to Plaintiffs' Claim who performed an inspection

of the Property. Blank failed to get onto the roof of the property during his October 2, 2017

inspection and was therefore unable to perform a complete investigation. Further, Blank was

improperly trained by the Insurance Company and failed to perform a thorough review of the file

before denying covered damages of the Claim and under-estimating other damages.

       17.     Instead of assigning another adjuster to inspect, Blank, through his employment at

Insurance Company, sent correspondence to Plaintiff on October 4, 2017 stating the $23,733.04

in damages were below the $41,484.00 deductible. Furthermore, on October 4, 2017, Blank sent

additional correspondence stating that "our inspection did not reveal any accidental direct

physical loss to your roof'. The damages that Blank did include on his estimate only included

damages to the Rear Elevation, Library, Piano Room, Son's Room and Media Room.

Defendants wholly excluded the damages to the Cedar Shake Roof, Exterior Damage, Exterior

Stucco, Entry Flagstone, Emily's Dressing Area, Kate's Dressing Area, Upstairs Hallway, Small

Staircase, Subroom (1), Subroom (2) or Emily's Bedroom were included on Defendants'

estimate. The Insurance Company ratified and accepted this substandard inspection and estimate




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  without question. Proctor review and provided the estimate to Plaintiffs on October 5, 2019 via

  e-mail correspondence.

          18.    Blank and/or Proctor and/or the Insurance Company's estimate did not allow

  adequate funds to cover the cost of repairs to all the damages sustained.

          19.    Defendants misrepresented that the only damage to the property was the areas

  listed in Defendants' estimate.

         20.     Blank's and Proctor's inadequate investigation and review of the file was relied

  upon by the Insurance Company in this matter and resulted in the Claim being denied and/or

  underpaid.

         21.     The Insurance Company's personnel failed to thoroughly review and properly

  oversee the work of their assigned adjusters Blank and Proctor, ultimately approving an improper

  adjustment and inadequate, unfair settlement of Plaintiffs' Claim.

         22.     This umeasonable investigation resulted in the considerable underpayment of

  Plaintiffs' Claim.

         23.     Together, Defendants Insurance Company, Adjusting Company, and Adjuster set

  out to deny and underpay on properly covered damages. The Insurance Company failed to

  provide full coverage for the damages sustained by Plaintiffs, and failed to fully scope the

  damages, and undervalued the damages it did account for, thus denying adequate and sufficient

  payment to Plaintiffs.

         24.     The mishandling of the claim also caused a delay in Plaintiffs' ability to fully

  repair their home, which has resulted in additional damages. To this date, Plaintiffs have yet to

  receive full payment under the Insurance Policy.




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               25.      The Insurance Company ratified the Adjuster's inadequate methods and

     investigation, resulting in Plaintiffs' claims being denied in part and undervalued and underpaid

     in part.        The unreasonable investigation of Plaintiffs' claim resulted in the considerable

     underpayment and wrongful denial of the claim.          Plaintiffs have suffered actual damages

     resulting from Defendants' wrongful acts and omissions as set forth above and further described

     herein.

               26.      The Insurance Company intentionally chose and adopted a business model that

     provided for retaining very few, if any, qualified adjusters as employees, and instead relied upon

     outside contractors to perform the Insurance Company's non-delegable duties of investigating

     claims in accordance with applicable Texas law.            In addition, the Insurance Company

     compensated its outside contractor adjusters by incentivizing them to exclude or artificially

     minimize the amount of storm-related damages payable under its policies, while forcing

     policyholders with such claims to self-perform material aspects of the claim investigation

     without training or instruction, and in express contravention to Texas law. Further, the Insurance

     Company had no or inadequate procedures in place to monitor or regularly audit the work

     product of its outside adjusters. Therefore, the Insurance Company was reasonably aware, or

     knew or should have known, that claims estimates generated by its adjusters, inclusive of the

     estimates at issue in this case, were wholly deficient by any measure under the contract and the

     law and likely to result in considerable underpayment and wrongful denial of storm-related

     claims, as occurred with Plaintiffs' claim.

               Tl.      Moreover, Adjusters were aware that the Insurance Company was incentivizing

     them to minimize the amount of storm-related damages payable under its policies, while forcing

     policyholders with such claims to self-perform material aspects of the claim investigation




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without training or instruction, and in express contravention to Texas law. Adjusters accepted

these terms knowing that they would likely cause their inspections and resulting claims estimates

to exclude or artificially minimize the amount of storm-related damages payable under its

policies, while forcing policyholders with such claims to self-perform material aspects of the

claim investigation without training or instruction, and in express contravention to Texas law.

       28.     As detailed in the paragraphs below, Insurance Company wrongfully denied

Plaintiffs' claim for repairs to the Property, even though the Policy provided coverage for losses

such as those suffered by Plaintiffs. Furthermore, Insurance Company denied Plaintiffs' claim by

not providing full coverage for the damages sustained by Plaintiffs.

       '29.    Insurance Company continues to delay paying Plaintiffs for the damages to the

Property. As such, Plaintiffs have not been paid in full for the damages to their home.

       30.     Insurance Company voluntarily assumed a non-contractual obligation to inspect

and value Plaintiffs' damages, thereby causing its conduct to be governed by the applicable

provisions of the Texas Insurance Code. However, it then failed to comply with its duties and

obligations under the law for inspecting and -valuing covered losses, and likewise failed to

perform its contractual duty to adequately compensate Plaintiffs for monies owed to them under

the Policy. More specifically, but without limitation, Insurance Company failed and refused to

pay the full proceeds of the Policy, although due demand was made for proceeds to be paid in an

amount sufficient to cover the damaged Property and all conditions precedent to recovery upon

the Policy had been carried out and accomplished by Plaintiffs. As such, and as further described

herein, Insurance Company's conduct in this regard constitutes both a violation of the applicable

provisions of the Texas Insurance Code, as well as a breach of the insurance contract between

Insurance Company and Plaintiffs.




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       31.     Defendants Insurance Company, and Adjusters misrepresented to Plaintiffs that

the damage to the Property was not covered under the Policy, even though the damage was

caused by a covered occurrence. As such, Defendants Insurance Company's and Adjusters'

conduct in this regard constitutes a violation of the Texas Insurance Code, Unfair Settlement

Practices. TEX. INS. CODE §541.060(a)(l).

       32.     Defendants Insurance Company and Adjusters failed to make an attempt to settle

Plaintiffs' claim in a fair manner, although they were aware of their liability to Plaintiffs under

the Policy. As such, Defendants Insurance Company's and Adjusters' conduct in this regard

constitutes a violation of the Texas Insurance Code, Unfair Settlement Practices. TEX. INS.

CODE §541.060(a)(2)(A).

       33.     Defendants Insurance Company and Adjusters failed to offer Plaintiffs adequate

compensation, without any explanation why full payment was not being made. Furthermore,

Defendants Insurance Company and Adjusters did not communicate that any future settlements

or payments would be forthcoming to pay for the entire losses covered under the Policy, nor did

they provide any explanation for the failure to adequately settle Plaintiffs' claim. As such,

Defendants Insurance Company's and Adjusters' conduct in this regard is a violation of the

Texas Insurance Code, Unfair Settlement Practices. TEX. INS. CODE §541.060(a)(3).

       34.     Defendants Insurance Company and Adjusters failed to affirm or deny coverage

of Plaintiffs' claim within a reasonable time. Specifically, Plaintiffs did not receive timely

indication of acceptance or rejection, regarding the full and entire claim, in writing from

Defendants Insurance Company and Adjusters. As such, Defendants Insurance Company's and

Adjusters' conduct in this regard constitutes a violation of the Texas Insurance Code, Unfair

Settlement Practices. TEX. INS. CODE §541.060(a)(4).




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       35.     Defendants Insurance Company and Adjusters refused to fully compensate

Plaintiffs under the terms of the Policy, even though Defendants failed to conduct a reasonable

investigation. Specifically, Defendants Insurance Company and Adjusters performed an

outcome-oriented investigation of Plaintiffs' claim, which resulted in a biased, unfair and

inequitable evaluation of Plaintiffs' losses on the property. As such, Defendants Insurance

Company's and Adjusters' conduct in this regard constitutes a violation of the Texas Insurance

Code, Unfair Settlement Practices. TEX. INS. CODE §541.060(a)(7).

       36.     After receiving notice of Plaintiffs' claim, Defendant Insurance Company failed

to meet its obligations under the Texas Insurance Code to timely and within the statutorily

mandated time acknowledge Plaintiffs' claim, begin an investigation of Plaintiffs' claim and

request all information reasonably necessary to investigate Plaintiffs' claim. As such, Insurance

Company's conduct in this regard constitutes violation of the Texas Insurance Code, Prompt

Payment of Claims, TEX. INS. CODE §542.055.

       37.     Insurance Company failed to accept or deny Plaintiffs' full and entire claim

within the statutorily mandated time of receiving all necessary information. As such, Insurance

Company's conduct in this regard constitutes a violation of the Texas Insurance Code, Prompt

Payment of Claims, TEX. INS. CODE §542.056.

       38.     Insurance Company failed to meet its obligations under the Texas Insurance Code

regarding payment of claim without delay. Specifically, Insurance Company has delayed full

payment of Plaintiffs' claim longer than allowed and, to date, Plaintiffs have not yet received full

payment for their claim. As such, Insurance Company's conduct in this regard constitutes a

violation of the Texas Insurance Code, Prompt Payment of Claims. TEX. INS.CODE §542.058.




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        39.    From and after the time Plaintiffs' claim was presented to IDSurance Company,

the liability of IDSurance Company to pay the full claim in accordance with the terms of the

Policy was reasonably clear. However, IDSurance Company has refused to pay Plaintiffs in full,

despite there being no basis on which a reasonable insurance company would have relied on to

deny the full payment. As such, IDSurance Company's conduct in this regard constitutes a breach

of the common law duty of good faith and fair dealing.

       40.     Additionally, Defendants knowingly or recklessly made false representations, as

described above, as to material facts and/or knowingly concealed all or part of material

information from Plaintiffs.

       41.     Defendants' wrongful acts and omissions, as further detailed herein, Plaintiffs

were forced to retain the professional services of the attorneys and law firm who are representing

them with respect to these causes of action.

                                      CAUSES OF ACTION

                CAUSES OF ACTION AGAINST DEFENDANT ADJUSTERS

       42.     ID support of the causes of action set forth herein, Plaintiffs' incorporate by

reference the allegations contained in the foregoing Paragraphs 1 through 41 as if fully set forth

verbatim.

       43.     IDSUrance Company assigned Adjusters to adjust the claim. Adjusters were

improperly trained to handle claims of this nature and performed an unreasonable investigation

of Plaintiffs' damages. During their investigation, Adjusters failed to properly assess Plaintiffs'

damages. Adjusters also omitted covered damages from their report. ID addition, the damages

that Adjusters failed to include in their estimate resulted in the improper denial of the claim.




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       44.     As such, Adjuster's conduct constitutes multiple violations of the Texas Insurance

Code, Unfair Settlement Practices. TEX. INS. CODE §541.060(a). All violations under this

article are made actionable by TEX. INS. CODE §541.151.

       45.     Blank and Proctor are individually liable for their unfair and deceptive acts,

irrespective of the fact he was acting on behalf of Insurance Company, each is a "person" as

defined by TEX. INS. CODE §541.002(2). The term "person" is defined as "any individual,

corporation, association, partnership, reciprocal or inter-insurance exchange, Lloyds plan,

fraternal benefit society, or other legal entity engaged in the business of insurance, including an

agent, broker, adjustor or life and health insurance counselor." TEX. INS. CODE §541.002(2)

(emphasis added). See also, Liberty Mutual Insurance Co. v. Garrison Contractors, Inc. 996

S.W.2d 482, 484 (Tex. 1998) (holding an insurance company employee to be a "person" for the

purpose of bringing a cause of action against them under the Texas Insurance Code and

subjecting them to individual liability).

       46.     Falsehoods and misrepresentations may be communicated by actions as well as by

the spoken word; therefore, deceptive conduct is equivalent to a verbal representation.

Adjusters' misrepresentations by means of deceptive conduct include, but are not limited to: (1)

failing to conduct a reasonable inspection and investigation of Plaintiffs' damages; (2) stating

that Plaintiffs' damages were less severe than they in fact were; (3) using their own statements

about the non-severity of the damages as a basis for denying properly covered damages and/or

underpaying damages; and (4) failing to provide an adequate explanation for the inadequate

compensation Plaintiff received. Adjusters' unfair settlement practice, as described above and

the example given herein, of misrepresenting to Plaintiffs material facts relating to the coverage




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at issue, constitutes an unfair method of competition and an unfair and deceptive act or practice

in the business of insurance. TEX. INS. CODE §541.060(a)(l).

       47.     Adjusters' unfair settlement practice, as described above, of failing to attempt in

good faith to effectuate a prompt, fair, and equitable settlement of the claim, even though

liability under the Policy is reasonably clear, constitutes an unfair method of competition and an

unfair and deceptive act or practice in the business of insurance. TEX. INS. CODE

§541.060(2)(A).

       48.     Adjusters failed to explain to Plaintiffs the reason for their inadequate settlement.

Specifically, Adjusters failed to offer Plaintiffs adequate compensation without any explanation

as to why full payment was not being made. Furthermore, Adjusters did not communicate that

any future settlements or payments would be forthcoming to pay for the entire losses covered

under the Policy, nor did they provide any explanation for the failure to adequately settle

Plaintiffs' claim. The unfair settlement practice of Adjusters, as described above, of failing to

promptly provide Plaintiffs with a reasonable explanation of the basis as set forth in the Policy,

in relation to the facts or applicable law, for the offer of a compromise settlement of Plaintiffs'

claim, constitutes an unfair method of competition and an unfair and deceptive act or practice in

the business of insurance. TEX. INS. CODE§541.060(3).

       49.     Adjusters' unfair settlement practice, as described above, of failing within a

reasonable time to affirm or deny coverage of the claim to Plaintiffs or to submit a reservation of

rights to Plaintiffs, constitutes an unfair method of competition and an unfair and deceptive act or

practice in the business of insurance. TEX. INS. CODE §541.060(4).

       50.     Adjusters did not properly inspect the Property and failed to account for and/or

undervalued many of Plaintiffs' exterior and interior damages, although reported by Plaintiffs.




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Defendants' unfair settlement practice, as described above, of refusing to pay Plaintiffs' claim

without conducting a reasonable investigation, constitutes an unfair method of competition and

an unfair and deceptive act or practice in the business of insurance. TEX. INS. CODE

§541.060(7).

                                  CAUSES OF ACTION AGAINST
                         STATE FARM FIRE & CASUALTY COMPANY

           51.   In support of the causes of action set forth herein, Plaintiffs' incorporate by

reference the allegations contained in the foregoing Paragraphs 1 through 50 as if fully set forth

verbatim.

           52.   Insurance Company is liable to Plaintiffs for breach of contract, as well as

intentional violations of the Texas Insurance Code and intentional breach of good faith and fair

dealing.

                                   BREACH OF CONTRACT

           53.   Insurance Company's conduct constitutes a breach of the insurance contract made

between Insurance Company and Plaintiffs.

           54.   Insurance Company's failure and/or refusal, as described above, to pay the

adequate compensation as it is obligated to do under the terms of the Policy in question, and

under the laws of the State of Texas, constitutes a breach of Insurance Company's insurance

contract with Plaintiffs.

                  NONCOMPLIANCE WITH TEXAS INSURANCE CODE:
                        UNFAIR SETTLEMENT PRACTICES

           55.   Insurance Company's conduct constitutes multiple violations of the Texas

Insurance Code, Unfair Settlement Practices. TEX. INS. CODE §541.060(a). All violations
under this article are made actionable by TEX. INS. CODE §541.151.




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       56.     Insurance Company's unfair settlement practice, as described above, of

misrepresenting to Plaintiffs material facts relating to the coverage at issue, constitutes an unfair

method of competition and an unfair and deceptive act or practice in the business of insurance.

TEX. INS. CODE §541.060(1).

       57.     Insurance Company's unfair settlement practice, as described above, of failing to

attempt in good faith to effectuate a prompt, fair, and equitable settlement of the claim, even

though Insurance Company's liability under the Policy was reasonably clear, constitutes an

unfair method of competition and an unfair and deceptive act or practice in the business of

insurance. TEX. INS. CODE §541.060(2(A).

       58.     Insurance Company's unfair settlement practice, as described above, of failing to

promptly provide Plaintiffs with a reasonable explanation of the basis in the Policy, in relation to

the facts or applicable law, for its offer of a compromise settlement of the claim, constitutes an

unfair method of competition and un unfair and deceptive act or practice in the business of

insurance. TEX. INS. CODE §541.060(3).

       59.     Insurance Company's unfair settlement practice, as described above, of failing

within a reasonable time to affirm or deny coverage of the claim to Plaintiffs, or to submit a

reservation of rights to Plaintiffs, constitutes an unfair method of competition and an unfair and

deceptive act or practice in the business of insurance. TEX. INS. CODE §541.060(4).

       60.     Insurance Company's unfair settlement practice, as described above, of refusing

to pay Plaintiffs' claim without conducting a reasonable investigation, constitutes an unfair

method of competition and an unfair and deceptive act or practice in the business of insurance.

TEX. INS. CODE §541.060(7).

                 NONCOMPLIANCE WITH TEXAS INSURANCE CODE:
                      THE PROMPT PAYMENT OF CLAIMS

       61.     Insurance Company's conduct constitutes multiple violations of the Texas

Insurance Code, Prompt Payment of Claims. All violations made under this article are made

actionable by TEX. INS. CODE §542.060.



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            62      Insurance Company's failure to acknowledge receipt of Plaintiffs' claim,

     commence investigation of the claim, and request from Plaintiffs all items, statements, and forms

     that it reasonably believed would be required within the applicable time constraints, as described

     above, constitutes a non-prompt payment of claims and a violation of the TEX. INS. CODE

     §542.055.

            63.     Insurance Company's failure to notify Plaintiffs in writing of its acceptance or

     rejection of the claim within the applicable time constraints, constitutes a non-prompt payment of

     the claim. TEX. INS. CODE §542.056.

            64.     Insurance Company's delay of the payment of Plaintiffs' claim following its

     receipt of all items, statements and forms reasonably requested and required, as described above,

     constitutes a non-prompt payment of the claim. TEX. INS. CODE §542.058.

                             ACTS CONSTITUTING ACTING AS AGENT

            65.      In support of the causes of action set forth herein, Plaintiffs incorporate by

     reference the allegations contained in the foregoing Paragraphs 1 through 64 as if fully set forth

     verbatim.

            66.     Adjusters are agents of Insurance Company based on their acts during the

     handling of this claim, including inspections, adjustments, and aiding in adjusting a loss for or on

     behalf of the Insurance Company. TEX. INS. CODE §4001.051.

            67.     Separately, and/or in the alternative, as referenced and described above, Insurance

     Company· ratified the actions and conduct of Adjusters, including the completion of their duties

     under the common and statutory law.

                  BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING

            68.     In support of the causes of action set forth herein, Plaintiffs' incorporate by

     reference the allegations contained in the foregoing Paragraphs 1 through 67 as if fully set forth

     verbatim.




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        (f)_    Insurance Company's conduct constitutes a breach of the common law duty of

good faith and fair dealing owed to Plaintiffs in their Policy.

        70.    Insurance Company's failure, as described above, to adequately and reasonably
investigate and evaluate Plaintiffs' claim, although at that time, Insurance Company knew or

should have known by the exercise of reasonable diligence that its liability was reasonably clear,

constitutes a breach of the duty of good faith and fair dealing.

                                          KNOWLEDGE

        71.     In support of the causes of action set forth herein, Plaintiffs incorporate by

reference the allegations contained in the foregoing Paragraphs 1 through 70 as if fully set forth

verbatim.

        72.    All of the acts described above, together and singularly, were done "knowingly"

as that term is used in the Texas Insurance Code and was a producing cause of Plaintiffs'

damages described herein.

                                            DAMAGES

       73.      In support of the causes of action set forth herein, Plaintiffs incorporate by

reference the allegations contained in the foregoing Paragraphs 1 through 72 as if fully set forth

verbatim.

       74.     Plaintiffs would show that all the acts as alleged herein, taken together or

singularly, constitute the producing cause of the damages sustained by Plaintiffs.

       75.     As previously mentioned, the damages have not been properly addressed or

repaired, causing further damages to the Property while also causing undue hardship and burden

to Plaintiffs. These damages are a direct result of Defendants mishandling of Plaintiffs' claim in

violation of the laws set forth above.

       76.     For breach of contract, Plaintiffs are entitled to regain the benefit of their bargain,
which is the amount of their claim, together with attorneys' fees.




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               77.    For noncompliance with the Texas Insurance Code, Unfair Settlement Practices,

       Plaintiffs are entitled to actual damages, which includes the loss of the benefits that should have

       been paid pursuant to the Policy, mental anguish, court costs, and attorneys' fees. For knowing

       conduct of the acts complained of, Plaintiffs are entitled to three times their actual damages.

       TEX. INS. CODE §541.152.

               78.    For noncompliance with the Texas Insurance Code, Prompt Payment of Claims,

       Plaintiffs are entitled to the amount of their claim, as well as the prejudgment interest, penalty

       interest pursuant to Chapter 542.060( c), cost, together with attorneys' fees. TEX. INS. CODE

       §542.060.

               79.    For breach of common law duty of good faith and fair dealing, Plaintiffs are

       entitled to compensatory damages, including all forms of loss resulting from the insurer's breach

       of duty, such as additional costs, economic hardship, losses due to nonpayment of the amount the

       Insurance Company owed, exemplary damages and damages for emotional distress.

               80.    For the prosecution and collection of this claim, Plaintiffs have been compelled to

       engage the services of the attorneys whose names are subscribed to this pleading. Therefore,

       Plaintiffs are entitled to recover a sum for the reasonable and necessary services of Plaintiffs'

       attorneys in the preparation and trial of this action, including any appeals to the Court of Appeals

       and/or the Supreme Court of Texas.

                                               JURYDEMAND

               81.    Plaintiffs hereby requests that all causes of actions alleged herein be tried before a

       jury consisting of citizens residing in Jefferson County, Texas. Plaintiffs are tendering the

       appropriate jury fee.

                                      CONDITIONS PRECEDENT

               82.    All conditions precedent to Plaintiffs' claim for relief has been performed or has

       occurred. This includes, but is not limited to, providing notice pursuant to Texas Insurance Code

       542A.


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            . Case 1:19-cv-00481-KFG Document 1-3 Filed 10/09/19 Page 20 of 52 PageID #: 29
            I




                                              REQUEST FOR DISCLOSURE

                       83.     Under Texas Rule of Civil Procedure 194, Plaintiffs request that Defendants

                disclose, within 50 days of the service of this request, the information or material described in

                Rule 194.2(a)-(l) and Rule 190.2(b)(6).

                                                           PRAYER

                         WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray that Defendants be cited

                 to appear and answer herein, and that upon trial hereof, said Plaintiffs have and recover such

                 sums as would reasonably and justly compensate them in accordance with the rules of law and

                 procedure, both as to actual damages, treble damage under the Texas Insurance Code, all

                 punitive and exemplary damages as may be found and reasonable and necessary attorneys'

                 fees. In addition, Plaintiffs request the award of attorney's fees for the trial and any appeal of

                 this case, for all costs of Court, for prejudgment and post-judgment interest as allowed by law,

                 and for any other and further relief, either_ at law or in equity, to which she may show

                 themselves to be justly entitled.

                                                                  Respectfully Submitted,

                                                                  RAMSEYLAW

                                                                  Isl Michael R. Ramsey
                                                                  Michael R. Ramsey
                                                                  State Bar No.16520200
                                                                  Randal G. Cashiola, Of Counsel
                                                                  State Bar No. 03966802
                                                                  Katherine D. Ramsey
                                                                  State Bar No. 24070469
                                                                  6280 Delaware Street, Ste A
                                                                  Beaumont, Texas 77706
                                                                  T: 409.444.2020
                                                                  F: 409.444-2021
                                                                  ramseydocket@ramseylaw.com

                                                                  ATTORNEYS FOR PLAINTIFFS




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                                                                 State Farm Fire & Casualty Co. c/o CSC
                                                                 211 E 7th Street, Suite 620
                                                                 Austin TX 78701-3218




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                                                                                  JEFFERSON CO TEXAS
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                                                                                  JAMIE SMITH
                                       CAUSE NO. E-204355                         DISTRICT CLERK
                                                                                  E-204355

BRYAN O. BLEVINS, JR. AND                            §     IN THE DISTRICT COURT OF
SHELLEY BLEVINS                                      §
                                                     §
V.                                                   §     JEFFERSON COUNTY, TEXAS
                                                     §
STATE FARM FIRE & CASUALTY                           §
INSURANCE COMPANY, MICHAEL                           §
BLANK and SHELEVIA RAQUEL                            §
PROCTOR                                              §     172nd JUDICIAL DISTRICT

                  PLAINTIFFS’ MOTION FOR SUBSTITUTED SERVICE ON
                       DEFENDANT SHELEVIA RAQUEL PROCTOR

TO THE HONORABLE JUDGE OF SAID COURT:

       PLAINTIFFS’ MOTION FOR SUBSTITUTED SERVICE ON DEFENDANT

SHELEVIA RAQUEL PROCTOR is brought by Plaintiffs BRYAN O. BLEVINS, JR. AND

SHELLEY BLEVINS, who show in support the following:

       1.         Plaintiffs filed suit against Defendants on August 23, 2019. Plaintiffs requested

service on Defendant SHELEVIA RAQUEL PROCTOR (referred to hereinafter as “Proctor”)

as follows:

              •   “Defendant Shelevia Raquel Proctor is an individual licensed to do, and at all time

                  material to the allegations in this Petition has done, business in Texas as an

                  adjuster. This Defendant does not reside in Texas and has not appointed an agent

                  for service of process. Therefore, pursuant to the Texas Long Arm Statute, this

                  Defendant may be served with personal process at her residence located at 111

                  Jade Lane, Dallas, GA 30132, or wherever else she may be found.”

       2.         Plaintiffs have attempted to serve Proctor on four (4) separate occasions by

personal service at Proctor’s place of residence. Plaintiff has not been successful in serving

Proctor, despite Plaintiffs’ due diligence.
Case 1:19-cv-00481-KFG Document 1-3 Filed 10/09/19 Page 23 of 52 PageID #: 32




       3.      Attached as Exhibit A to this Motion is the affidavit of Xavier Irvine. The

affidavit states facts showing that substituted service of citation on Proctor should be authorized.

       4.      Accordingly, as authorized by Rule 106(b), Texas Rules of Civil Procedure,

Plaintiffs request that this Court authorize service on Proctor by affixing a copy of the citations,

with a copy of Plaintiffs’ Original Petition attached to the door of 111 Jade Lane, Dallas,

Georgia 30132. This manner of service will be effective in giving Proctor notice of this suit

because the above specified location is the Proctor’s place of residence.



                                              Respectfully submitted,

                                                      RAMSEY LAW

                                                      /s/ Michael R. Ramsey
                                                      Michael R. Ramsey
                                                      State Bar No. 16520200
                                                      Katherine D. Ramsey
                                                      State Bar No. 24070469
                                                      Randal G. Cashiola, of Counsel
                                                      State Bar No. 03966802
                                                      6280 Delaware Street, Suite A
                                                      Beaumont, Texas 77706
                                                      T: 409.444.2020
                                                      F: 409.444.2021
                                                      ramseydocket@ramseylaw.com

                                                     ATTORNEYS FOR PLAINTIFFS




                                                 2
Case 1:19-cv-00481-KFG Document 1-3 Filed 10/09/19 Page 24 of 52 PageID #: 33




                               CERTIFICATE OF SERVICE
      By my signature below, I certify that a true and correct copy of the above and foregoing
document has been filed using the Court’s electronic filing system on this 12th day of September
2019.


                                              /s/ Michael R. Ramsey
                                                Michael R. Ramsey




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                                       A
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                                      CAUSE NO. E-204355

 BRYAN 0. BLEVINS, JR. AND                          §      IN THE DISTRICT COURT OF
 SHELLEY BLEVINS                                    §
                                                    §
 V.                                                 §      JEFFERSONCOUNTY, TEXAS
                                                    §
 STATE FARM FIRE & CASUALTY                         §
 INSURANCECOMPANY,MICHAEL                           §
 BLANK and SHELEVIA RAQUEL                          §
 PROCTOR                                            §      172ndJUDICIALDISTRICT

                            ORDER FOR SUSTITUTED SERVICE


       Today, the Court considered Plaintiffs' Motion for Substituted Service and the supporting
affidavit. The Court finds that Plaintiffs' attempts to serve Defendant Shelevia Raquel Proctor
have not been successful, despite Plaintiffs' due diligence.


       Therefore, the Court ORDERSthat substituted service is authorizedon DefendantShelevia
RaquelProctor. Proctormaybe servedby affixinga copy ofthe citations, withPlaintiffs' Original
Petition attached, to the door of 111 Jade Lane, Dallas, Georgia 30132.


       IT IS FURTHER ORDERED that the Return of Citation, endorsed on or attached to the
citations will state when and how the citations were served.



       Signed on this 17th day of_Se2tembei_ 2019.




                                              The Honorable Judge MffCh Templeton
         Case 1:19-cv-00481-KFG Document 1-3 Filed 10/09/19 Page 27 of FILED
                                                                       52 PageID #: 36
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                                                                                                                                      JEFFERSON C0204355-00005
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CITATION                                                                                                                              10/4/2019 8:15 AM
                                                 THE STATE OF TEXAS                                                                   JAMIE SMITH
                                                                                                                                      DISTRICT CLERK
         No. E-0204355                                                                                                                E-204355

             BRYAN 0 BLEVINS JR ET AL
         VS. STATE FARM FIRE AND CASUALTY COMPANY ET AL
                                                               CITATION
                                       172nd JUDICIAL DISTRICT COURT
                                         of JEFFERSONCOUNTY, TEXAS
To:    PROCTOR, SHELEVIARAQUEL

by serving at:
111 JADE LANE
DALLAS, GA   30132                                                                                                                              DEFENDANT:

NOTICE:
                                                           jMr -
                                                           .       .    -   *«i». ..,


          You have been sued. You may employ aiTattomey. If you or your attorney do not file a written answer with the clerk who
issued this citation by 10:00 a.m. on the Monday next following the expiration oftwenty days after you were served this citation and
petition, a defaultjudgment may be taken against you. Saidanswer may be filed by mailing same to: District Clerk's Office, 1085
Pearl, Room 203, Beaumont, TX 77701, (or if the case is designated as an E-file case, E-file through Lexis Nexis file and
serve) or bybringing it to the office. The caseis presently pending before"the 172nd District Court ofJefferson County sitting in
Beaumont, Texas, andwasfiled'on the 23rd day^ofAugust, 2019. It bears cause number E-0204355 and is styled:
                        /     X. . "     /                                        '. <                    \                       \                    Plaintiff:
                  BRYAN0 BLEVINSJRET AL (
         vs- . .                    ".. / ,          i./
                 STATE FARM FIRE AND CASUALTY COMPANY ET AL
                        / --. - /                 y-
                                                                                                                                                     Defendant:

         The nameand addressofthe attorney for plaintiff(or plaintiffif pro se) is:
                                     J _ ^^:_ it. ».           ' *.         -                    .
                                    RAMSEY, 'MICHAEL R, Atty. '* ,
                       S            6280 DELAWARESTREET SUITE A
                                    BEAUMONT, TX 77.706 0       .                                         '
                                      ^ . >.. -t'lrl.      /.               ^               - , :. -' 7/
      The nature ofthe demands of said plaintiff is shown by a true and correct copy ofPlaintiffs PETITION (PLAINTIFF'S
ORIGINAL) accompanyingthis citation andmade~apartthereof.
                           '^. ..        ^ ^--^--, --^ _ ^., ».                                                /                  ^
        Issued under my hand and the seal ofsaid court, at Beaumont, Texas, this the 23rd day ofAugust, 2019.
                                             \                     Wl                       .

                                s                               JAMIESMITH, DISTRfCI;CLERK/
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Case 1:19-cv-00481-KFG Document 1-3 Filed 10/09/19 Page 28 of 52 PageID #: 37

                                IN THE 172ND JUDICIALDISTRICT
                                  JEFFERSON COUNTY, TEXAS

                                        CAUSE NO. E" 0204355

                    BRYAN 0. BLEVINS JR., AND SHELLEY BLEVINS
                                       vs
              STATE FARM FlRE & CASUALTY COMPANY, ET AL

                                               RETURN
Came to my hand: ^/^ i f lc1 , at                  ^'.^ I        o'clock AM , thefollowing
specified documents: !

     .   Citation
     .   Plaintiffs' Original Petition
     .   Jury Demand
     .   Request for Disclosure

and executed by me on 09/23/2019 (3) 06:20 o'clock P. M., at, tLUADEiANE^
DALLAS, GEORGIA30132 within the county of PAULDING,by delivering to
SHELEVlA RAQUEL PROCTOR, by affixing to the door, a true copy of the
above specified documents, together with Order for Substituted Service having
first endorsed on such copy the date of delivery.

I am over the age of 18;and I am not a party to or interested in the outcome of the
above styled and numbered suit.


"My name is /\i. \l</ -.^          Li_V^k.            _,   my date of birth is    O^l fj l ^ I, and
 my address is -)c> /\}\(              -{.. ^L                _, U. S.A.

                 Me... . t\\^   ^. ^   "t-^1

 I declare under penalty of perjury that the foregoing '}strue and correct. Executed in
         IV     County, Stateof________ onthe 2!/i"day of ^3p4. , 2019.




                                                 By: (print name). \c\^ i   e '     \^   /1<-
                                                 ASSURED CIVIL PROCESS AGENCY
                                                 5926 Balcones Dr. Ste. 290, Austin, TX 78731
Case 1:19-cv-00481-KFG Document 1-3 Filed 10/09/19 Page 29 of 52 PageID #: 38




                                      CAUSE NO. E-204355

 BRYAN 0. BLEVINS, JR. AND                          §      IN THE DISTRICT COURT OF
 SHELLEY BLEVINS                                    §
                                                    §
 V.                                                 §      JEFFERSONCOUNTY, TEXAS
                                                    §
 STATE FARM FIRE & CASUALTY                         §
 INSURANCECOMPANY,MICHAEL                           §
 BLANK and SHELEVIA RAQUEL                          §
 PROCTOR                                            §      172ndJUDICIALDISTRICT

                            ORDER FOR SUSTITUTED SERVICE


       Today, the Court considered Plaintiffs' Motion for Substituted Service and the supporting
affidavit. The Court finds that Plaintiffs' attempts to serve Defendant Shelevia Raquel Proctor
have not been successful, despite Plaintiffs' due diligence.


       Therefore, the Court ORDERSthat substituted service is authorizedon DefendantShelevia
RaquelProctor. Proctormaybe servedby affixinga copy ofthe citations, withPlaintiffs' Original
Petition attached, to the door of 111 Jade Lane, Dallas, Georgia 30132.


       IT IS FURTHER ORDERED that the Return of Citation, endorsed on or attached to the
citations will state when and how the citations were served.



       Signed on this 17th day of_Se2tembei_ 2019.




                                              The Honorable Judge MffCh Templeton
Case 1:19-cv-00481-KFG Document 1-3 Filed 10/09/19 Page 30 of FILED
                                                              52 PageID #: 39
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                                                                                           JAMIE SMITH
                                                      Cause No. E-204,355                  DISTRICT CLERK
                                                                                           E-204355

Bryan O. Blevins, Jr. and                                       §          In the District Court of
Shelley Blevins                                                 §
                                                                §
V.                                                              §          Jefferson County, Texas
                                                                §
State Farm Fire & Casualty Company,                             §
Michael Blank and Shelevia Raquel                               §
Proctor                                                         §          172nd Judicial District

                                               Defendant's Original Answer

           State Farm Fire & Casualty Company, (“Defendant”), files this Original

Answer and respectfully shows the Court as follows:

                                                                I.
                                                          General Denial

           Defendant generally denies each and every, all and singular, the allegations

contained in Plaintiffs' Original Petition and demands strict proof thereof as allowed

under the laws of the State of Texas. By this general denial, Defendant would

require Plaintiffs to prove every fact to support the claims in their Original Petition

by a preponderance of the evidence.

                                                               II.
                                                             Prayer

           WHEREFORE, PREMISES CONSIDERED, Defendant moves and prays the

Court that upon trial hereof, Plaintiffs recover nothing and that Defendant go hence

with costs and for such other and further relief as it may show itself entitled to receive.



Blevins, Bryan and Shelley v. SFL - Original Answer.doc                                       Page 1 of 2
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                                                             Respectfully submitted,

                                                             ORGAIN BELL & TUCKER, LLP
                                                             560 South Fourth Street
                                                             Silsbee, Texas 77656
                                                             Telephone: (409) 386-0386
                                                             Facsimile: (409) 386-0900

                                                             By S. Donean Surratt
                                                                 David J. Fisher
                                                                 Texas Bar No. 07049525
                                                                 E-mail: djf@obt.com
                                                                 Donean Surratt
                                                                 Texas Bar No. 01720400
                                                                 E-mail: sds@obt.com

                                                             Attorneys for Defendant,
                                                             State Farm Fire & Casualty
                                                             Company


                                                      Certificate of Service

      I hereby certify that on this 30th day of September, 2019, a copy of the
foregoing document has been served via efile.txcourts.gov on:

           Michael R. Ramsey
           Katherine Ramsey
           6280 Delaware St., Ste. A
           Beaumont, Texas 77706


                                                                 S. Donean Surratt
                                                                 S. Donean Surratt




Blevins, Bryan and Shelley v. SFL - Original Answer.doc                                   Page 2 of 2
Case 1:19-cv-00481-KFG Document 1-3 Filed 10/09/19 Page 32 of FILED
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                                                                                JEFFERSON CO TEXAS
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                                                                                JAMIE SMITH
                                        CAUSE NO. E-204355                      DISTRICT CLERK
                                                                                E-204355

BRYAN O. BLEVINS, JR. AND                          §        IN THE DISTRICT COURT OF
SHELLEY BLEVINS                                    §
                                                   §
VS.                                                §
                                                   §       JEFFERSON COUNTY, TEXAS
STATE FARM FIRE & CASUALTY                         §
COMPANY, MICHAEL BLANK AND                         §
SHELEVIA RAQUEL PROCTOR                            §          172nd JUDICIAL DISTRICT

                            PLAINTIFFS’ FIRST AMENDED PETITION

 TO THE HONORABLE JUDGE OF SAID COURT:

              COMES NOW, Bryan O. Blevins, Jr. and Shelley Blevins ("Plaintiffs"), and files this
 Plaintiffs’ First Amended Petition, complaining of Defendants State Farm Lloyd’s, Michael

 Blank and Shelevia Raquel Proctor (hereinafter collectively referred to as “Defendants”) and

 for cause of action would show the following:

                                            DISCOVERY
         1.        Plaintiffs intend for discovery to be conducted under Level 3 of Rule 190 of the

Texas Rules of Civil Procedure. This case involves complex issues and will require extensive

discovery. Therefore, Plaintiffs will ask the court to order that discovery be conducted in

accordance with a discovery control plan tailored to the circumstances of this suit.

                                              PARTIES
         2.        Plaintiffs Bryan O. Blevins, Jr. and Shelley Blevins are individuals residing in

Jefferson County, Texas.

         3.        Defendant State Farm Lloyd’s is an alien or foreign insurance company registered

to engage in the business of insurance in Texas. This defendant may be served with process via
certified mail, return receipt requested, by serving its registered agent, Corporation Service

Company 211 E. 7th Street, Ste. 620, Austin, Texas 78701-3218, or wherever else it may be

found.
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       4.         Defendant Michael Blank is an individual licensed to do, and at all time material

to the allegations in this Petition has done, business in Texas as an adjuster. This Defendant does
not reside in Texas and has not appointed an agent for service of process. This Defendant is in

the process of being served, therefore, no citation is requested at this time.

       5.         Defendant Shelevia Raquel Proctor is an individual licensed to do, and at all time

material to the allegations in this Petition has done, business in Texas as an adjuster. This

Defendant does not reside in Texas and has not appointed an agent for service of process. This
Defendant is in the process of being served, therefore, no citation is requested at this time.

                                        JURISDICTION

       6.         The Court has subject matter jurisdiction of this cause of action because it

involves an amount in controversy in excess of the minimum jurisdictional limits of this Court.

Plaintiffs are seeking damages over $200,000 but not more than $1,000,000, including damages

of any kind, penalties, costs, expenses, pre-judgment and post-judgment interest. Plaintiffs

reserve the right to amend their petition during and/or after the discovery process.

       7.         The court has jurisdiction over Defendant State Farm Lloyd’s because this

Defendant is a foreign insurance company that engages in the business of insurance in the State

of Texas and Plaintiffs’ causes of action arise out of this Defendant's business activities in the

state of Texas.

       8.         The court has jurisdiction over Defendants Michael Blank and Shelevia Raquel

Proctor because these Defendants engage in the business of adjusting insurance claims in the

State of Texas, and Plaintiffs cause of action arose out of these Defendants’ business activities in

the State of Texas.




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                                          VENUE
       9.      Venue in this cause is proper in Jefferson County because the insured property is

situated in Jefferson County. TEX. CIV. PRAC. & REM. CODE § 15.032.

                                           FACTS

       10.     Plaintiffs are the owners of a Texas Homeowners’ Insurance Policy (hereinafter

referred to as “the Policy”), which was issued by State Farm Lloyd’s (referred to hereinafter as

“Insurance Company”).

       11.     Plaintiffs own the insured property, which is specifically located at 2475 Shadow

Bend Drive, Beaumont, Texas 77706 (hereinafter referred to as “the Property”).

       12.     Insurance Company sold the Policy insuring the Property to Plaintiffs.

       13.     On or about August 29, 2017, Plaintiffs sustained wind and water damage to the

following areas of the Property due to Hurricane Harvey: Cedar Shake Roof, Exterior Damage

(including but not limited to Copper Valley-V-Channel, Stucco, Flagstone Entry and Back

Patio), Library, Piano Room, Kaden’s Room, Emily’s Dressing Area, Kate’s Dressing Area,

Formal Dining Room, Media Room, Upstairs Hallway, Small Staircase, Subroom (1), Subroom

(2) and Emily’s Bedroom. Plaintiffs filed a claim with their Insurance Company for the damages

to their home caused by Hurricane Harvey.

       14.     Pursuant to the Policy, Plaintiffs asked that the Insurance Company to pay for the

damage to the Property.

       15.     The Insurance Company, without requiring written notice of the claim from the

Plaintiffs, assigned Defendants Michael Blank (“Blank” or “Adjuster”) and Shelevia Raquel

Proctor (“Proctor” or “Claims Associate”), (referred to collectively, hereinafter as “Adjusters”)

as the adjusters to investigate Plaintiffs’ claim. Blank and Proctor, because of inadequate and

improper instruction and training, failed to perform an investigation of Plaintiffs’ claim that met


                                                                                                  3
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the minimum standards of performance pursuant to industry standards, §§21.203 and 21.205 of

the Texas Administrative Code, applicable law, or otherwise.

       16.     Blank was the adjuster assigned to Plaintiffs’ Claim who performed an inspection

of the Property. Blank failed to get onto the roof of the property during his October 2, 2017

inspection and was therefore unable to perform a complete investigation. Further, Blank was

improperly trained by the Insurance Company and failed to perform a thorough review of the file

before denying covered damages of the Claim and under-estimating other damages.

       17.     Instead of assigning another adjuster to inspect, Blank, through his employment at

Insurance Company, sent correspondence to Plaintiff on October 4, 2017 stating the $23,733.04

in damages were below the $41,484.00 deductible. Furthermore, on October 4, 2017, Blank sent

additional correspondence stating that “our inspection did not reveal any accidental direct

physical loss to your roof”. The damages that Blank did include on his estimate only included

damages to the Rear Elevation, Library, Piano Room, Son’s Room and Media Room.

Defendants wholly excluded the damages to the Cedar Shake Roof, Exterior Damage, Exterior

Stucco, Entry Flagstone, Emily’s Dressing Area, Kate’s Dressing Area, Upstairs Hallway, Small

Staircase, Subroom (1), Subroom (2) or Emily’s Bedroom were included on Defendants’

estimate. The Insurance Company ratified and accepted this substandard inspection and estimate

without question. Proctor review and provided the estimate to Plaintiffs on October 5, 2019 via

e-mail correspondence.

       18.     Blank and/or Proctor and/or the Insurance Company’s estimate did not allow

adequate funds to cover the cost of repairs to all the damages sustained.

       19.     Defendants misrepresented that the only damage to the property was the areas

listed in Defendants’ estimate.




                                                                                                4
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          20.      Blank’s and Proctor’s inadequate investigation and review of the file was relied

upon by the Insurance Company in this matter and resulted in the Claim being denied and/or

underpaid.

          21.      The Insurance Company’s personnel failed to thoroughly review and properly

oversee the work of their assigned adjusters Blank and Proctor, ultimately approving an improper

adjustment and inadequate, unfair settlement of Plaintiffs’ Claim.

          22.      This unreasonable investigation resulted in the considerable underpayment of

Plaintiffs’ Claim.

          23.      Together, Defendants Insurance Company, Adjusting Company, and Adjuster set

out to deny and underpay on properly covered damages. The Insurance Company failed to

provide full coverage for the damages sustained by Plaintiffs, and failed to fully scope the

damages, and undervalued the damages it did account for, thus denying adequate and sufficient

payment to Plaintiffs.

          24.      The mishandling of the claim also caused a delay in Plaintiffs’ ability to fully

repair their home, which has resulted in additional damages. To this date, Plaintiffs have yet to

receive full payment under the Insurance Policy.

          25.      The Insurance Company ratified the Adjuster’s inadequate methods and

investigation, resulting in Plaintiffs’ claims being denied in part and undervalued and underpaid

in part.        The unreasonable investigation of Plaintiffs’ claim resulted in the considerable

underpayment and wrongful denial of the claim.            Plaintiffs have suffered actual damages

resulting from Defendants’ wrongful acts and omissions as set forth above and further described

herein.




                                                                                                  5
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       26.     The Insurance Company intentionally chose and adopted a business model that

provided for retaining very few, if any, qualified adjusters as employees, and instead relied upon

outside contractors to perform the Insurance Company’s non-delegable duties of investigating

claims in accordance with applicable Texas law.           In addition, the Insurance Company

compensated its outside contractor adjusters by incentivizing them to exclude or artificially

minimize the amount of storm-related damages payable under its policies, while forcing

policyholders with such claims to self-perform material aspects of the claim investigation

without training or instruction, and in express contravention to Texas law. Further, the Insurance

Company had no or inadequate procedures in place to monitor or regularly audit the work

product of its outside adjusters. Therefore, the Insurance Company was reasonably aware, or

knew or should have known, that claims estimates generated by its adjusters, inclusive of the

estimates at issue in this case, were wholly deficient by any measure under the contract and the

law and likely to result in considerable underpayment and wrongful denial of storm-related

claims, as occurred with Plaintiffs’ claim.

       27.     Moreover, Adjusters were aware that the Insurance Company was incentivizing

them to minimize the amount of storm-related damages payable under its policies, while forcing

policyholders with such claims to self-perform material aspects of the claim investigation

without training or instruction, and in express contravention to Texas law. Adjusters accepted

these terms knowing that they would likely cause their inspections and resulting claims estimates

to exclude or artificially minimize the amount of storm-related damages payable under its

policies, while forcing policyholders with such claims to self-perform material aspects of the

claim investigation without training or instruction, and in express contravention to Texas law.




                                                                                                  6
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       28.     As detailed in the paragraphs below, Insurance Company wrongfully denied

Plaintiffs’ claim for repairs to the Property, even though the Policy provided coverage for losses

such as those suffered by Plaintiffs. Furthermore, Insurance Company denied Plaintiffs’ claim by

not providing full coverage for the damages sustained by Plaintiffs.

       29.     Insurance Company continues to delay paying Plaintiffs for the damages to the

Property. As such, Plaintiffs have not been paid in full for the damages to their home.

       30.     Insurance Company voluntarily assumed a non-contractual obligation to inspect

and value Plaintiffs’ damages, thereby causing its conduct to be governed by the applicable

provisions of the Texas Insurance Code. However, it then failed to comply with its duties and

obligations under the law for inspecting and valuing covered losses, and likewise failed to

perform its contractual duty to adequately compensate Plaintiffs for monies owed to them under

the Policy. More specifically, but without limitation, Insurance Company failed and refused to

pay the full proceeds of the Policy, although due demand was made for proceeds to be paid in an

amount sufficient to cover the damaged Property and all conditions precedent to recovery upon

the Policy had been carried out and accomplished by Plaintiffs. As such, and as further described

herein, Insurance Company’s conduct in this regard constitutes both a violation of the applicable

provisions of the Texas Insurance Code, as well as a breach of the insurance contract between

Insurance Company and Plaintiffs.

       31.     Defendants Insurance Company, and Adjusters misrepresented to Plaintiffs that

the damage to the Property was not covered under the Policy, even though the damage was

caused by a covered occurrence. As such, Defendants Insurance Company’s and Adjusters’

conduct in this regard constitutes a violation of the Texas Insurance Code, Unfair Settlement

Practices. TEX. INS. CODE §541.060(a)(1).




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       32.     Defendants Insurance Company and Adjusters failed to make an attempt to settle

Plaintiffs’ claim in a fair manner, although they were aware of their liability to Plaintiffs under

the Policy. As such, Defendants Insurance Company’s and Adjusters’ conduct in this regard

constitutes a violation of the Texas Insurance Code, Unfair Settlement Practices. TEX. INS.

CODE §541.060(a)(2)(A).

       33.     Defendants Insurance Company and Adjusters failed to offer Plaintiffs adequate

compensation, without any explanation why full payment was not being made. Furthermore,

Defendants Insurance Company and Adjusters did not communicate that any future settlements

or payments would be forthcoming to pay for the entire losses covered under the Policy, nor did

they provide any explanation for the failure to adequately settle Plaintiffs’ claim. As such,

Defendants Insurance Company’s and Adjusters’ conduct in this regard is a violation of the

Texas Insurance Code, Unfair Settlement Practices. TEX. INS. CODE §541.060(a)(3).

       34.     Defendants Insurance Company and Adjusters failed to affirm or deny coverage

of Plaintiffs’ claim within a reasonable time. Specifically, Plaintiffs did not receive timely

indication of acceptance or rejection, regarding the full and entire claim, in writing from

Defendants Insurance Company and Adjusters. As such, Defendants Insurance Company’s and

Adjusters’ conduct in this regard constitutes a violation of the Texas Insurance Code, Unfair

Settlement Practices. TEX. INS. CODE §541.060(a)(4).

       35.     Defendants Insurance Company and Adjusters refused to fully compensate

Plaintiffs under the terms of the Policy, even though Defendants failed to conduct a reasonable

investigation. Specifically, Defendants Insurance Company and Adjusters performed an

outcome-oriented investigation of Plaintiffs’ claim, which resulted in a biased, unfair and

inequitable evaluation of Plaintiffs’ losses on the property. As such, Defendants Insurance




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Company’s and Adjusters’ conduct in this regard constitutes a violation of the Texas Insurance

Code, Unfair Settlement Practices. TEX. INS. CODE §541.060(a)(7).

       36.     After receiving notice of Plaintiffs’ claim, Defendant Insurance Company failed

to meet its obligations under the Texas Insurance Code to timely and within the statutorily

mandated time acknowledge Plaintiffs’ claim, begin an investigation of Plaintiffs’ claim and

request all information reasonably necessary to investigate Plaintiffs’ claim. As such, Insurance

Company’s conduct in this regard constitutes violation of the Texas Insurance Code, Prompt

Payment of Claims, TEX. INS. CODE §542.055.

       37.     Insurance Company failed to accept or deny Plaintiffs’ full and entire claim

within the statutorily mandated time of receiving all necessary information. As such, Insurance

Company’s conduct in this regard constitutes a violation of the Texas Insurance Code, Prompt

Payment of Claims, TEX. INS. CODE §542.056.

       38.     Insurance Company failed to meet its obligations under the Texas Insurance Code

regarding payment of claim without delay. Specifically, Insurance Company has delayed full

payment of Plaintiffs’ claim longer than allowed and, to date, Plaintiffs have not yet received full

payment for their claim. As such, Insurance Company’s conduct in this regard constitutes a

violation of the Texas Insurance Code, Prompt Payment of Claims. TEX. INS. CODE §542.058.

       39.     From and after the time Plaintiffs’ claim was presented to Insurance Company,

the liability of Insurance Company to pay the full claim in accordance with the terms of the

Policy was reasonably clear. However, Insurance Company has refused to pay Plaintiffs in full,

despite there being no basis on which a reasonable insurance company would have relied on to

deny the full payment. As such, Insurance Company’s conduct in this regard constitutes a breach

of the common law duty of good faith and fair dealing.




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       40.     Additionally, Defendants knowingly or recklessly made false representations, as

described above, as to material facts and/or knowingly concealed all or part of material

information from Plaintiffs.

       41.     Defendants’ wrongful acts and omissions, as further detailed herein, Plaintiffs

were forced to retain the professional services of the attorneys and law firm who are representing

them with respect to these causes of action.

                                      CAUSES OF ACTION

                CAUSES OF ACTION AGAINST DEFENDANT ADJUSTERS

       42.     In support of the causes of action set forth herein, Plaintiffs’ incorporate by

reference the allegations contained in the foregoing Paragraphs 1 through 41 as if fully set forth

verbatim.

       43.     Insurance Company assigned Adjusters to adjust the claim. Adjusters were

improperly trained to handle claims of this nature and performed an unreasonable investigation

of Plaintiffs’ damages. During their investigation, Adjusters failed to properly assess Plaintiffs’

damages. Adjusters also omitted covered damages from their report. In addition, the damages

that Adjusters failed to include in their estimate resulted in the improper denial of the claim.

       44.     As such, Adjuster’s conduct constitutes multiple violations of the Texas Insurance

Code, Unfair Settlement Practices. TEX. INS. CODE §541.060(a). All violations under this

article are made actionable by TEX. INS. CODE §541.151.

       45.     Blank and Proctor are individually liable for their unfair and deceptive acts,

irrespective of the fact he was acting on behalf of Insurance Company, each is a “person” as

defined by TEX. INS. CODE §541.002(2). The term “person” is defined as “any individual,

corporation, association, partnership, reciprocal or inter-insurance exchange, Lloyds plan,



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fraternal benefit society, or other legal entity engaged in the business of insurance, including an

agent, broker, adjustor or life and health insurance counselor.” TEX. INS. CODE §541.002(2)

(emphasis added). See also, Liberty Mutual Insurance Co. v. Garrison Contractors, Inc. 996

S.W.2d 482, 484 (Tex. 1998) (holding an insurance company employee to be a “person” for the

purpose of bringing a cause of action against them under the Texas Insurance Code and

subjecting them to individual liability).

       46.     Falsehoods and misrepresentations may be communicated by actions as well as by

the spoken word; therefore, deceptive conduct is equivalent to a verbal representation.

Adjusters’ misrepresentations by means of deceptive conduct include, but are not limited to: (1)

failing to conduct a reasonable inspection and investigation of Plaintiffs’ damages; (2) stating

that Plaintiffs’ damages were less severe than they in fact were; (3) using their own statements

about the non-severity of the damages as a basis for denying properly covered damages and/or

underpaying damages; and (4) failing to provide an adequate explanation for the inadequate

compensation Plaintiff received. Adjusters’ unfair settlement practice, as described above and

the example given

herein, of misrepresenting to Plaintiffs material facts relating to the coverage at issue, constitutes

an unfair method of competition and an unfair and deceptive act or practice in the business of

insurance. TEX. INS. CODE §541.060(a)(1).

       47.     Adjusters’ unfair settlement practice, as described above, of failing to attempt in

good faith to effectuate a prompt, fair, and equitable settlement of the claim, even though

liability under the Policy is reasonably clear, constitutes an unfair method of competition and an

unfair and deceptive act or practice in the business of insurance. TEX. INS. CODE

§541.060(2)(A).




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       48.     Adjusters failed to explain to Plaintiffs the reason for their inadequate settlement.

Specifically, Adjusters failed to offer Plaintiffs adequate compensation without any explanation

as to why full payment was not being made. Furthermore, Adjusters did not communicate that

any future settlements or payments would be forthcoming to pay for the entire losses covered

under the Policy, nor did they provide any explanation for the failure to adequately settle

Plaintiffs’ claim. The unfair settlement practice of Adjusters, as described above, of failing to

promptly provide Plaintiffs with a reasonable explanation of the basis as set forth in the Policy,

in relation to the facts or applicable law, for the offer of a compromise settlement of Plaintiffs’

claim, constitutes an unfair method of competition and an unfair and deceptive act or practice in

the business of insurance. TEX. INS. CODE §541.060(3).

       49.     Adjusters’ unfair settlement practice, as described above, of failing within a

reasonable time to affirm or deny coverage of the claim to Plaintiffs or to submit a reservation of

rights to Plaintiffs, constitutes an unfair method of competition and an unfair and deceptive act or

practice in the business of insurance. TEX. INS. CODE §541.060(4).

       50.     Adjusters did not properly inspect the Property and failed to account for and/or

undervalued many of Plaintiffs’ exterior and interior damages, although reported by Plaintiffs.

Defendants’ unfair settlement practice, as described above, of refusing to pay Plaintiffs’ claim

without conducting a reasonable investigation, constitutes an unfair method of competition and

an unfair and deceptive act or practice in the business of insurance. TEX. INS. CODE

§541.060(7).




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                                 CAUSES OF ACTION AGAINST
                                    STATE FARM LLOYD’S

       51.     In support of the causes of action set forth herein, Plaintiffs’ incorporate by

reference the allegations contained in the foregoing Paragraphs 1 through 50 as if fully set forth

verbatim.

       52.     Insurance Company is liable to Plaintiffs for breach of contract, as well as

intentional violations of the Texas Insurance Code and intentional breach of good faith and fair

dealing.

                                   BREACH OF CONTRACT

       53.     Insurance Company’s conduct constitutes a breach of the insurance contract made

between Insurance Company and Plaintiffs.

       54.     Insurance Company’s failure and/or refusal, as described above, to pay the

adequate compensation as it is obligated to do under the terms of the Policy in question, and

under the laws of the State of Texas, constitutes a breach of Insurance Company’s insurance

contract with Plaintiffs.

                 NONCOMPLIANCE WITH TEXAS INSURANCE CODE:
                       UNFAIR SETTLEMENT PRACTICES
       55.     Insurance Company’s conduct constitutes multiple violations of the Texas

Insurance Code, Unfair Settlement Practices. TEX. INS. CODE §541.060(a). All violations

under this article are made actionable by TEX. INS. CODE §541.151.
       56.     Insurance Company’s unfair settlement practice, as described above, of

misrepresenting to Plaintiffs material facts relating to the coverage at issue, constitutes an unfair

method of competition and an unfair and deceptive act or practice in the business of insurance.

TEX. INS. CODE §541.060(1).




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       57.     Insurance Company’s unfair settlement practice, as described above, of failing to

attempt in good faith to effectuate a prompt, fair, and equitable settlement of the claim, even

though Insurance Company’s liability under the Policy was reasonably clear, constitutes an
unfair method of competition and an unfair and deceptive act or practice in the business of

insurance. TEX. INS. CODE §541.060(2(A).

       58.     Insurance Company’s unfair settlement practice, as described above, of failing to

promptly provide Plaintiffs with a reasonable explanation of the basis in the Policy, in relation to

the facts or applicable law, for its offer of a compromise settlement of the claim, constitutes an
unfair method of competition and un unfair and deceptive act or practice in the business of

insurance. TEX. INS. CODE §541.060(3).

       59.     Insurance Company’s unfair settlement practice, as described above, of failing

within a reasonable time to affirm or deny coverage of the claim to Plaintiffs, or to submit a

reservation of rights to Plaintiffs, constitutes an unfair method of competition and an unfair and
deceptive act or practice in the business of insurance. TEX. INS. CODE §541.060(4).

       60.     Insurance Company’s unfair settlement practice, as described above, of refusing

to pay Plaintiffs’ claim without conducting a reasonable investigation, constitutes an unfair

method of competition and an unfair and deceptive act or practice in the business of insurance.

TEX. INS. CODE §541.060(7).

                 NONCOMPLIANCE WITH TEXAS INSURANCE CODE:
                      THE PROMPT PAYMENT OF CLAIMS
       61.     Insurance Company’s conduct constitutes multiple violations of the Texas

Insurance Code, Prompt Payment of Claims. All violations made under this article are made

actionable by TEX. INS. CODE §542.060.

       62.     Insurance Company’s failure to acknowledge receipt of Plaintiffs’ claim,

commence investigation of the claim, and request from Plaintiffs all items, statements, and forms
that it reasonably believed would be required within the applicable time constraints, as described




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above, constitutes a non-prompt payment of claims and a violation of the TEX. INS. CODE

§542.055.

       63.     Insurance Company’s failure to notify Plaintiffs in writing of its acceptance or

rejection of the claim within the applicable time constraints, constitutes a non-prompt payment of

the claim. TEX. INS. CODE §542.056.
       64.     Insurance Company’s delay of the payment of Plaintiffs’ claim following its

receipt of all items, statements and forms reasonably requested and required, as described above,

constitutes a non-prompt payment of the claim. TEX. INS. CODE §542.058.

                        ACTS CONSTITUTING ACTING AS AGENT
       65.      In support of the causes of action set forth herein, Plaintiffs incorporate by

reference the allegations contained in the foregoing Paragraphs 1 through 64 as if fully set forth

verbatim.

       66.     Adjusters are agents of Insurance Company based on their acts during the

handling of this claim, including inspections, adjustments, and aiding in adjusting a loss for or on

behalf of the Insurance Company. TEX. INS. CODE §4001.051.

       67.     Separately, and/or in the alternative, as referenced and described above, Insurance
Company ratified the actions and conduct of Adjusters, including the completion of their duties

under the common and statutory law.

             BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING
       68.     In support of the causes of action set forth herein, Plaintiffs’ incorporate by

reference the allegations contained in the foregoing Paragraphs 1 through 67 as if fully set forth
verbatim.

       69.     Insurance Company’s conduct constitutes a breach of the common law duty of

good faith and fair dealing owed to Plaintiffs in their Policy.

       70.     Insurance Company’s failure, as described above, to adequately and reasonably
investigate and evaluate Plaintiffs’ claim, although at that time, Insurance Company knew or



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should have known by the exercise of reasonable diligence that its liability was reasonably clear,

constitutes a breach of the duty of good faith and fair dealing.

                                         KNOWLEDGE
       71.      In support of the causes of action set forth herein, Plaintiffs incorporate by

reference the allegations contained in the foregoing Paragraphs 1 through 70 as if fully set forth

verbatim.

       72.     All of the acts described above, together and singularly, were done “knowingly”
as that term is used in the Texas Insurance Code and was a producing cause of Plaintiffs’

damages described herein.

                                            DAMAGES
       73.      In support of the causes of action set forth herein, Plaintiffs incorporate by
reference the allegations contained in the foregoing Paragraphs 1 through 72 as if fully set forth

verbatim.

       74.     Plaintiffs would show that all the acts as alleged herein, taken together or

singularly, constitute the producing cause of the damages sustained by Plaintiffs.

       75.     As previously mentioned, the damages have not been properly addressed or
repaired, causing further damages to the Property while also causing undue hardship and burden

to Plaintiffs. These damages are a direct result of Defendants mishandling of Plaintiffs’ claim in
violation of the laws set forth above.

       76.     For breach of contract, Plaintiffs are entitled to regain the benefit of their bargain,

which is the amount of their claim, together with attorneys’ fees.
       77.     For noncompliance with the Texas Insurance Code, Unfair Settlement Practices,

Plaintiffs are entitled to actual damages, which includes the loss of the benefits that should have

been paid pursuant to the Policy, mental anguish, court costs, and attorneys’ fees. For knowing

conduct of the acts complained of, Plaintiffs are entitled to three times their actual damages.
TEX. INS. CODE §541.152.



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        78.    For noncompliance with the Texas Insurance Code, Prompt Payment of Claims,

Plaintiffs are entitled to the amount of their claim, as well as the prejudgment interest, penalty

interest pursuant to Chapter 542.060(c), cost, together with attorneys’ fees. TEX. INS. CODE
§542.060.

        79.    For breach of common law duty of good faith and fair dealing, Plaintiffs are

entitled to compensatory damages, including all forms of loss resulting from the insurer’s breach

of duty, such as additional costs, economic hardship, losses due to nonpayment of the amount the

Insurance Company owed, exemplary damages and damages for emotional distress.
        80.    For the prosecution and collection of this claim, Plaintiffs have been compelled to

engage the services of the attorneys whose names are subscribed to this pleading. Therefore,

Plaintiffs are entitled to recover a sum for the reasonable and necessary services of Plaintiffs’

attorneys in the preparation and trial of this action, including any appeals to the Court of Appeals

and/or the Supreme Court of Texas.

                                          JURY DEMAND

        81.    Plaintiffs previously requested that all causes of actions alleged herein be tried

before a jury consisting of citizens residing in Jefferson County, Texas. Plaintiffs tendered the

appropriate jury fee.

                               CONDITIONS PRECEDENT

        82.    All conditions precedent to Plaintiffs’ claim for relief has been performed or has

occurred. This includes, but is not limited to, providing notice pursuant to Texas Insurance Code

542A.

                              REQUEST FOR DISCLOSURE

        83.    Under Texas Rule of Civil Procedure 194, Plaintiffs request that Defendants

disclose, within 50 days of the service of this request, the information or material described in

Rule 194.2(a)-(l) and Rule 190.2(b)(6).



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                                           PRAYER
        WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray that Defendants be cited

 to appear and answer herein, and that upon trial hereof, said Plaintiffs have and recover such

 sums as would reasonably and justly compensate them in accordance with the rules of law and
 procedure, both as to actual damages, treble damage under the Texas Insurance Code, all

 punitive and exemplary damages as may be found and reasonable and necessary attorneys’

 fees. In addition, Plaintiffs request the award of attorney’s fees for the trial and any appeal of

 this case, for all costs of Court, for prejudgment and post-judgment interest as allowed by law,

 and for any other and further relief, either at law or in equity, to which she may show
 themselves to be justly entitled.



                                                  Respectfully Submitted,

                                                  RAMSEY LAW

                                                  /s/ Michael R. Ramsey
                                                  Michael R. Ramsey
                                                  State Bar No.16520200
                                                  Randal G. Cashiola, Of Counsel
                                                  State Bar No. 03966802
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                                                  ramseydocket@ramseylaw.com

                                                  ATTORNEYS FOR PLAINTIFFS




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                                  CERTIFICATE OF SERVICE

         Pursuant to the Texas Rules of Civil Procedure, I hereby certify that on the 2nd day of October,
2019, a true and correct copy of Plaintiffs’ First Amended Petition was served by the Court’s electronic
filing system to counsel of record.

                                                        /s/ Katherine Ramsey
                                                        Katherine D. Ramsey




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                                                                                          DISTRICT CLERK OF
                                                                                          JEFFERSON CO TEXAS
                                                                                          10/7/2019 2:31 PM
                                                                                          JAMIE SMITH
                                                      Cause No. E-204,355                 DISTRICT CLERK
                                                                                          E-204355

Bryan O. Blevins, Jr. and                                       §         In the District Court of
Shelley Blevins                                                 §
                                                                §
V.                                                              §         Jefferson County, Texas
                                                                §
State Farm Fire & Casualty Company,                             §
Michael Blank and Shelevia Raquel                               §
Proctor                                                         §         172nd Judicial District

                                                   Defendant's Original Answer

           Shelevia Raquel Proctor, (“Defendant”), files this Original Answer and

respectfully shows the Court as follows:

                                                               I.
                                                         General Denial

           Defendant generally denies each and every, all and singular, the allegations

contained in Plaintiffs' First Amended Petition and demands strict proof thereof as

allowed under the laws of the State of Texas. By this general denial, Defendant

would require Plaintiffs to prove every fact to support the claims in their First

Amended Petition by a preponderance of the evidence.

                                                               II.
                                                             Prayer

           WHEREFORE, PREMISES CONSIDERED, Defendant moves and prays the

Court that upon trial hereof, Plaintiffs recover nothing and that Defendant go hence




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with costs and for such other and further relief as she may show herself entitled to

receive.

                                                          Respectfully submitted,

                                                          ORGAIN BELL & TUCKER, LLP
                                                          560 South Fourth Street
                                                          Silsbee, Texas 77656
                                                          Telephone: (409) 386-0386
                                                          Facsimile: (409) 386-0900

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                                                              Donean Surratt
                                                              Texas Bar No. 01720400
                                                              E-mail: sds@obt.com

                                                          Attorneys for Defendant,
                                                          Shelevia Raquel Proctor


                                                   Certificate of Service

     I hereby certify that on this 7th of October, 2019, a copy of the foregoing
document has been served via efile.txcourts.gov on:

           Michael R. Ramsey
           Katherine Ramsey
           Randal Cashiola
           6280 Delaware St., Ste. A
           Beaumont, Texas 77706


                                                              S. Donean Surratt
                                                              S. Donean Surratt




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